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 7                     IN THE UNITED STATES DISTRICT COURT

 8                    FOR THE EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,     )
                                   )          CR NO. S-10-361 LKK
11                  Plaintiff,     )
                                   )
12             v.                  )          AMENDED ORDER RE
                                   )          STATUS CONFERENCE
13   KELLY MILES,                  )
                                   )
14                                 )
                    Defendant.     )
15   ______________________________)

16        On May 24, 2011, at 9:15 a.m., this matter came on for a

17   status conference.    The United States appeared through Assistant

18   United States Attorney Kyle Reardon.        Defendant Kelly Miles

19   appeared with attorney Ron Peters.

20        The government and the defendant agreed that a change of plea

21   hearing should be scheduled on June 28, 2011, and that time should

22   be excluded until that date based on the need for defense counsel

23   to review the discovery and prepare (local code T4).

24        Accordingly, the Court entered the following orders:

25        For good cause shown, IT IS HEREBY ORDERED THAT:

26        1.    The case is scheduled for a change of plea hearing on

27   June 28, 2011.

28        2.    The time between May 24 and June 28, 2011 is excluded

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 1   under the Speedy Trial Act pursuant to Local Code T4, Title 18,

 2   United States Code, Section 3161 (h)(7)(A), to give the defendant

 3   time to review the discovery and to adequately prepare.            The Court

 4   specifically finds that a continuance is necessary to give the

 5   defendant reasonable time to prepare for trial in this matter.

 6   The Court finds that the ends of justice served by granting a

 7   continuance outweigh the best interest of the public and defendant

 8   in a speedy trial.

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10   DATE: May 26, 2011

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